UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

 

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RUTH SMITH, Individually and as Widow
for the Use and Benefit of Herself and the :
Next of Kin of RICHARD SMITH, Deceased, : Civil No. 3:05-0444
: Judge Trauger
Plaintiff,
-against-

(corrected signature page)

PFIZER INC., PARKER-DAVIS,

a division of Warner-Lambert Company,

and Warner-Lambert Company LLC,
WARNER-LAMBERT COMPANY,
WARNER-LAMBERT COMPANY LLC and
JOHN DOE(S) 1-10,

Defendants,

PLAINTIFF’S WITNESS LIST

1. Ruth Smith, 301 Autumn Chase Dr, Nashville, TN 37214, telephone
number 615-975-6300;

2. Cindy Smith-Charlton, 2914 McGavock Pike, Nashville, TN 37214,
telephone number 615-975-6300;

3. Andrew Charlton, 2914 McGavock Pike, Nashville, TN 37214, telephone

number 615-975-6300;

4. Sherri Hoskins, 204 Chester Stevens Rd, Franklin, TN 37067, telephone

number 615-591-5339;

9. Buford Hoskins, 204 Chester Stevens Rd, Franklin, TN 37067, telephone

number 615-591-5339,

6. Lewis Wesley Carnahan, 2936 McGravock Pike, Nashville, TN 37214,

telephone number 615-882-2856;

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7. Gayle Lawson, 2003 Brentview Ct, Nashville, TN 37220, telephone
number 615-269-0345;

8. Arnold Eugene Lawson, 2003 Brentview Ct, Nashville, TN 37220,
telephone number 615-269-0345;

9. Dan Chambers, minister at Lebanon Road Church of Christ;
10. Donnie Kennedy, a friend of the family, pallbearer;

11. Bill Duffy, nephew;

12. Bill Allen, friend;

13. Bill Roehrig, Nashville Machines;

14. John Gray, employee Nashville Machines, 800 Stirrup Drive,
Nashville, TN 37221, telephone number 615-838-5828;

15. Jim Tatum, employee Nashville Machines;

16. James Earl Lee, employee Nashville Machines, 7108 Bahne Road,
Fairview, TN, telephone number 615-799-5791

17. Detective Danny Satterfield, Metropolitan Nashville Police Department, 200
James Robertson Parkway, Nashville, TN 37201, telephone number 615-
862-7400;

18. Officer David Crowder, Metropolitan Nashville Police Department, 200
James Robertson Parkway, Nashville, TN 37201, telephone number 615-
862-7400;

19. Officer Randy Casteel, Metropolitan Nashville Police Department, 200
James Robertson Parkway, Nashville, TN 37201, telephone number 615-
862-7400;

20. Officer Jason Moyot, Metropolitan Nashville Police Department, 200 James
Robertson Parkway, Nashville, TN 37201, telephone number 615-862-
7400;

21.Officer W. Louchs, Metropolitan Nashville Police Department, 200 James
Robertson Parkway, Nashville, TN 37201, telephone number 615-862-
7400;

22.Dr. Feng Li, Forensic Medical, 850 R S Glass Blvd, Nashville, TN 37216,
telephone number 615-743-1800;

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23. Gary Briggs, Forensic Medical, 850 R S Glass Blvd, Nashville, TN 37216,
telephone number 615-743-1800;

24. Trimble, MD, Michael, Flat 22 Belvedere House, Grosvenor Road, London
SW1V 3/Y United Kingdom, telephone number 02072-78-7748;

25. Blume, PhD, Cheryl, 13902 North Dale Mabry Highway, Tampa, FL
33618, telephone number 813-963-3062;

26. King IT, Charles, Greylock McKinnon Associates, One Memorial Drive,
Cambridge, Massachusetts 02142, telephone number 617-871-6900;

2/.Ron Maris, PhD; The Suicide Center, 9 Poacher’s Lane, Columbia, SC
29223-3014, telephone number 803-777-6870;

28.Sander Greenland, Department of Epidemiology, UCLA School of Public
Health, Los Angeles, California 90095-1772, U.S.A.

29. Dr. Paul R. McCombs, Neurosurgical Associates, 4230 Harding Rd, Suite
303, Nashville, TN 37205, telephone number 615-284-2222;

30. Dr. Edward S. Mackey Jr., 4230 Harding Rd, Suite 1000, Nashville, TN
37205, telephone number 615-383-2693;

31.Dr. James Jones, Heritage Medical Associates, 2325 Crestmoore, Nashville,
TN 37215, telephone number 615-324-2158;

32. Dr. Tom E. Nesbit; Spaulding & Nesbitt Urology Clinic, 345 23" Ave N,
Suite 212, Nashville, TN 37203, telephone number 615-327-2055;

33. Dr. Stewart Stowers, Tennessee Orthopaedic Alliance, 301 21° Ave N,
Nashville, TN 37203, telephone number 615-329-6600;

34. Dr. Mowery, Otolaryngology Associates of Tennessee, 2410 Patterson St,
Suite 210, Nashville, TN 37203, telephone number 615-329-1681;

35. Dr. John Anderson, Baptist Hospital, 2000 Church St, Nashville, TN 37236,
telephone number 615-284-5555;

36.Dr. Douglas Waldo, Heart & Vascular Clinic, 240 Patterson St, Suite 215,
Nashville, TN 37203, telephone number 615-342-5757;

37.Dr. David N. Dyer, 2200 Murphy Ave, Suite B, Nashville, TN 37203,
telephone number 615-342-5830;

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38. Dr. William B. Harwell Jr., 1900 Patterson St, Suite 205, Nashville, TN
37203, telephone number 615-329-0011;

39. Dr. Burton F, Elrod, Southern Sports Medicine, 2021 Church St, Suite 200,
Nashville, TN 37203, telephone number 615-284-2000;

40.Dr. Michael T. Santi, Colon & Rectal Surgery Associates, 240 Patterson St,
Suite 201, Nashville, TN 37203, telephone number 615-342-5740;

41.Dr. Frank Berklacich, 4230 Harding Rd, Suite 805, Nashville, TN 37205,
telephone number 615-298-3205;

42.Dr. Carl Hampf, 300 20" Ave N, Suite 506, Nashville, TN 37203,
telephone number 615-327-9543;

-43.Dr. James Cato, 222 2™ Ave N, Nashville, TN 37203, telephone number
615-284-2222;

44. Christopher L. Woods, DDS, 1502 i7” Ave South, Nashville, TN 37212,
telephone number 615-463-7864;

45.Dr. Thomas Stasko, Vanderbilt Dermatology Clinic, 1301 22™ Ave S, Suite
3903, Nashville, TN 37232, telephone number 615-322-6485;

46. Dr. Rex Arendall, Neurological Associates, 345 23" Ave N, Suite 420,
Nashville, TN 37203, telephone number 615-986-1256;

47.Dr. Daryl Kaswinkel, Loden Vision Center, 907 Rivergato Parkway, Suite
C2020, Goodlettsville, TN 37072, telephone number 615-859-3937;

48. Dr. Michael Crawford, Powers Family Chiropractic Center, 4117 Gallatin
Rd, Nashville, TN 37216, telephone number 615-227-5020;

49. Dr. David Schull, 4230 Harding Road, Suite 521, Nashville, TN 37205,
telephone 615-269-2655;

50. Dr. Nathan T. Mowery, 1211 21 Ave, 2/404 Medical Arts Building,
Nashville, TN 37212, telephone 615-322-3000;

51.Dr. W. Scott West, Associated Psychiatrists, 30 Burton Hills Blvd #375,
Nashville, TN 37215, telephone 615-327-4877;

52. Pamela Krancer, APN;

53. Ashley Pippin-Moreland, Sales Representative/Territory Manager;

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54. David Franklin, Whirty Circle, Hopkinton, MA;

55. Jeffrey Kindler, CEO, Pfizer, Inc.;

56. Frank D’Amelio, Sr. VP and Chief. Financial Officer, Pfizer, Inc.;

5/7. Hauben, Dr. Manfred, Medical Director, Risk Management Strategy;

58. Knapp, Lloyd, Pharm D.;

59, William Ringo, Sr. VP, Strategy and Business Development, Pfizer, Inc.;

60. Martin Mackay, President, Pfizer Global Research & Development, Pfizer,
Inc.;

61. Amy Schulman, Officer, Pfizer, Inc.;
62. David Madigan, PhD, Professor of Statistics, Columbia University;
63. Javier Cabrera, PhD, Professor of Statistics, Rutgers University;

85. Sharon-Lise T. Normand, PhD, Professor of Biostatistics, Harvard School of
Public Health;

86. Atul Pande, MD, 116 Morris Branch Court, Cary, North Carolina 27518;
87. Defendants’ Regional or District Sales Managers who supervised,
trained, or coached the territory manager(s) and/or sales
representatives who detailed Plaintiff decedent’s healthcare

providers regarding Neurontin;

88. Sandy Beaty, Pfizer Inc., 3200 W. End Ave. #500, Nashville, TN
37203-1322;

89. Corporate representative, Pfizer Inc., 3200 W. End Ave. #500,
Nashville, TN 37203-1322;

90. Corporate representative, Pfizer Inc., 1865 Shelby Oaks Drive,
Memphis, TN 38134-7401.

Dated: April 27, 2010

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FINKELSTEIN & PARTNERS, LLP JACK W. LONDON AND
ASSOCIATES, P.C,

 

 

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